                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
       v.                                           )      Criminal Action No.
                                                    )      12-00363-01-CR-W-DGK
SHANNON WAYNE MARTINEZ,                             )
                                                    )
                      Defendant.                    )

                                    DETENTION ORDER

U      A.     Order for Detention

U      After conducting a detention hearing on December 4, 2012, pursuant to 18 U.S.C.
§ 3142(f) of the Bail Reform Act, the Court orders the above-named defendant detained pursuant
to 18 U.S.C. § 3142(e) and (i).

U      B.     Statement of Reasons for the Detention

U      The Court orders the defendant's detention because it finds:

U             By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as required.

U             By clear and convincing evidence that no condition or combination of conditions
              will reasonably assure the safety of any other person and the community.

U      C.     Findings of Fact

U     The Court's findings are based on the evidence which was presented in Court and that
which was contained in the Pretrial Services Report, and includes the following:

U             (1) Nature and circumstances of the offense charged:

U                     (a)    The crime: conspiracy to distribute methamphetamine, in
                             violation of 21 U.S.C. §§ 841(a)(1), (a)(1)(A) and 846.
                      (b)    The offense is a crime of violence.
U                     (c)    The offense involves a narcotic drug.
U                     (d)    The offense involves a large amount of controlled substances, to
                             wit:



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U        (2)   The weight of the evidence against the defendant is high.
U        (3)   The history and characteristics of the defendant including:
U              (a)    General Factors:

                      The defendant appears to have a mental condition which may
                              affect whether the defendant will appear.
                      The defendant has no family ties in the area.
                      The defendant has no steady employment.
U                     The defendant has no substantial financial resources.
                      The defendant is not a long-time resident of the community.
                      The defendant does not have any significant community ties.
U                     Past conduct of the defendant:
U                     The defendant has a history of drug abuse.
                      The defendant has a history of alcohol abuse.
U                     The defendant has a significant prior criminal record.
                      The defendant has a prior record of failure to appear in court
                              proceedings.
U              (b)    Whether the defendant was on probation, parole, or release by a
                      court:
                      At the time of the current arrest, the defendant was on:
U                             Probation
                              Parole
                              Release pending trial, sentence, appeal or completion of
                              sentence.
               (c)    Other Factors:
                              The defendant is an illegal alien and is subject to
                              deportation.
                              The defendant is a legal alien and will be subject to
                              deportation.
                              Other:

U        (4)   The nature and seriousness of the danger by the defendant's release are as
               follows: defendant has a poor history of adjustment to court supervision.

         (5)   Rebuttable Presumptions:

               In determining that the defendant should be detained, the Court also relied
               on the following rebuttable presumptions(s) contained in 18 U.S.C.
               § 3142(e) which the Court finds the defendant has not rebutted:

               a.     That no condition or combination of conditions will reasonably
                      assure the appearance of the defendant as required and the safety
                      of any other person and the community because the Court finds
                      that the crime involves:

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                              (A)     A crime of violence; or
                              (B)     An offense for which the maximum penalty is life
                                      imprisonment or death; or
                              (C)     A controlled substance violation which has a maximum
                                      penalty of 10 years or more or;
                              (D)     A felony after the defendant had been convicted of two or
                                      more prior offenses described in (A) through (C) above and
                                      the defendant has a prior conviction for one of the crimes
                                      mentioned in (A) through (C) above which is less than five
                                      years old and which was committed while the defendant
                                      was on pretrial release; and the Court finds that
                                              18 U.S.C. § 3142(e)(1), or
                                              18 U.S.C. § 3142(e)(2), or
                                              18 U.S.C. § 3142(e)(3) applies.

                       b.     That no condition or combination of conditions will reasonably
                              assure the appearance of the defendant as required and the safety
                              of the community because the Court finds that there is probable
                              cause to believe:

                              (A)     That the defendant has committed a controlled substance
                                      violation which has a maximum penalty of 10 years or
                                      more.
                              (B)     That the defendant has committed an offense under 18
                                      U.S.C. § 924(c) or § 956(a).

U      The Court, in finding that there are no conditions or combination of conditions which
reasonably will assure the defendant's appearance and the safety of any other person and the
community, has considered and rejected alternatives. Among the alternatives considered, the
Court has rejected house arrest and a daily reporting scheme. In rejecting these alternatives, the
Court notes the gravity of the offense and the substantial penalties which may possibly be
imposed.

U      D.     Additional Directives
U      Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
              The defendant be committed to the custody of the Attorney General for
       confinement in a corrections facility separate, to the extent practicable, from persons
       awaiting or serving sentences or being held in custody pending appeal; and
              The defendant be afforded reasonable opportunity for private consultation with
       his counsel; and




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               That, upon an order of a court of the United States, or upon request of an attorney
       for the Government, the person in charge of the corrections facility in which the
       defendant is confined deliver the defendant to the United States Marshal for the purpose
       of an appearance in connection with court proceedings.

              IT IS SO ORDERED.



                                             /s/ JOHN T. MAUGHMER
                                                   JOHN T. MAUGHMER
                                                 United States Magistrate Judge

Kansas City, Missouri




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